             CERTIFICATION OF APPLE INC. CUSTODIAN OF RECORDS



I, Jeri Lema, hereby declare:
1.      I am employed by Apple Inc. and my official title is Legal Specialist. I am a duly
authorized Custodian of Records, or other qualified witness for Apple Inc. (“Apple”) located in
Cupertino, California. As such I have the authority to certify these records,
APL000001_APPLE_CONFIDENTIAL and APLiC000001_APPLE_CONFIDENTIAL
produced September 20, 2021, in response to the legal process served on Apple on August 24,
2021. I am authorized to submit this declaration on behalf of Apple.
2.      Each of the records produced is the original or a duplicate of the original record in the
custody of Apple Inc.
3.      With respect to the records contained in APL000001_APPLE_CONFIDENTIAL, these
records were:
            a. made at or near the time by, or from information transmitted by, someone with
                knowledge or from a process or system that produces an accurate result, the
                accuracy of which is regularly verified by Apple;
            b. kept in the course of a regularly conducted activity of Apple’s business; and
            c. made as part of a regular practice of the activity of Apple’s business.
4.      With respect to the records contained within APLiC000001_APPLE_CONFIDENTIAL,
these records are Apple's record of the iCloud information transmitted to Apple by and stored on
behalf of the Apple ID account vkoim.popov@yandex.ru (“iCloud Records”). The referenced
Apple ID account transmitted the iCloud Records to Apple, and Apple stored those records at or
near the time indicated on such iCloud Records. The Apple system that received and stored the
foregoing iCloud Records produces an accurate result.
I declare under penalty of perjury under the laws of the State of California that the foregoing is

true and correct

 DATED: September 20, 2021                        APPLE INC.




                                                  By:
                                                  Name: Jeri Lema
                                                  Title: Legal Specialist, Apple Inc.
             CERTIFICATION OF APPLE INC. CUSTODIAN OF RECORDS



I, Greg Crader, hereby declare:
1.      I am employed by Apple Inc. and my official title is Legal Specialist. I am a duly
authorized Custodian of Records, or other qualified witness for Apple Inc. (“Apple”) located in
Cupertino, California. As such I have the authority to certify these records,
APL000001_APPLE_CONFIDENTIAL through APL000002_APPLE_CONFIDENTIAL and
APLiC000001_APPLE_CONFIDENTIAL through APLiC000002_APPLE_CONFIDENTIAL
produced August 05, 2021 in response to legal process served on Apple on July 19, 2021. I am
authorized to submit this declaration on behalf of Apple.
2.      Each of the records produced is the original or a duplicate of the original record in the
custody of Apple Inc.
3.      With respect to the records contained in APL000001_APPLE_CONFIDENTIAL, these
records were:
            a. made at or near the time by, or from information transmitted by, someone with
                knowledge or from a process or system that produces an accurate result, the
                accuracy of which is regularly verified by Apple;
            b. kept in the course of a regularly conducted activity of Apple’s business; and
            c. made as part of a regular practice of the activity of Apple’s business.
4.      With respect to the records contained within APLiC000001_APPLE_CONFIDENTIAL
through APLiC000002_APPLE_CONFIDENTIAL, these records are Apple's record of the iOS
device backup(s) and iCloud information transmitted to Apple by and stored on behalf of the
Apple ID account with username: antiglobalist1@icloud.com (“Backup and iCloud Records”).
The referenced Apple ID account transmitted the Backup and iCloud Records to Apple, and
Apple stored those records at or near the time indicated on such Backup and iCloud Records. The
Apple system that received and stored the foregoing Backup and iCloud Records produces an

accurate result.



I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct

  DATED: August 05, 2021                          APPLE INC.



                                                  By:
                                                  Name: Greg Crader
                                                  Title: Legal Specialist, Apple Inc.
              CERTIFICATION OF APPLE INC. CUSTODIAN OF RECORDS



I, Carolyn Walworth, hereby declare:
1.        I am employed by Apple Inc. and my official title is Legal Specialist. I am a duly
authorized Custodian of Records, or other qualified witness for Apple Inc. (“Apple”) located in
Cupertino, California. As such I have the authority to certify these records,
APLiC000003_APPLE_CONFIDENTIAL through APLiC000004_APPLE_CONFIDENTIAL
produced September 22, 2021 in supplemental response to the legal process served on Apple on
July 19, 2021. I am authorized to submit this declaration on behalf of Apple.
2.        Each of the records produced is the original or a duplicate of the original record in the
custody of Apple Inc.
3.        With respect to the records contained within APLiC000003_APPLE_CONFIDENTIAL
through APLiC000004_APPLE_CONFIDENTIAL, these records are Apple's record of the
iCloud information transmitted to Apple by and stored on behalf of the Apple ID account with
username antiglobalist1@icloud.com (“iCloud Records”). The referenced Apple ID account
transmitted the iCloud Records to Apple, and Apple stored those records at or near the time
indicated on such iCloud Records. The Apple system that received and stored the foregoing
iCloud Records produces an accurate result.


 I declare under penalty of perjury under the laws of the State of California that the foregoing is
 true and correct.

     DATED: September 22, 2021                       APPLE INC.

                                                     By: /s/ Carolyn Walworth
                                                     Name: Carolyn Walworth
                                                     Title: Legal Specialist, Apple Inc.
